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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS

    KAYLA SHACKELFORD, individually, and                Case No.
    on behalf of all others similarly situated,
                                                      CLASS ACTION COMPLAINT
                   Plaintiff,
                                                      DEMAND FOR JURY TRIAL
    v.

    DIRECT ENERGY LP, a Texas company,

                   Defendant.



                                 CLASS ACTION COMPLAINT

          Plaintiff Kayla Shackelford (“Shackelford” or “Plaintiff”) brings this Class Action

Complaint and Demand for Jury Trial against Defendant Direct Energy LP (“Direct Energy” or

“Defendant”) to stop Direct Energy from violating the Telephone Consumer Protection Act by

making unsolicited, autodialed calls to consumers without their consent, including calls to

consumers registered on the National Do Not Call registry, and to obtain injunctive and

monetary relief for all persons injured by Direct Energy’s conduct. Plaintiff, for her Complaint,

alleges as follows upon personal knowledge as to herself and her own acts and experiences, and,

as to all other matters, upon information and belief, including investigation conducted by her

attorneys.

                                         INTRODUCTION

          1.     Founded in 1986, Direct Energy has become one of North America’s largest

energy and energy-related service providers. Direct Energy is a subsidiary of Centrica plc and

operates in 46 U.S. states as well as 10 provinces in Canada.1




1
    https://www.linkedin.com/company/direct-energy/
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       2.        In order to sustain its significant size and to expand its business, Direct Energy

utilizes many marketing methods including telemarketing.

       3.        Unfortunately, Direct Energy’s telemarketing practices violated the Telephone

Consumer Protection Act because Direct Energy telemarkets to thousands of consumers using an

autodialer without their consent, including to consumers who have specifically registered their

phone numbers on the Do Not Call Registry to avoid unsolicited calls.

       4.        In Plaintiff’s case, Direct Energy made more than 50 unsolicited, autodialed calls

to her cellular phone, despite Plaintiff registering her phone number with the National Do Not

Call Registry to prevent such calls.

       5.        In response to these calls, Plaintiff files this lawsuit seeking injunctive relief,

requiring Defendant to cease placing unsolicited calls to consumers’ cellular telephone numbers

using an automatic telephone dialing system without consent and otherwise calling telephone

numbers registered on the National Do Not Call Registry (“DNC”), as well as an award of

statutory damages to the members of the Classes and costs.

                                               PARTIES

       6.        Plaintiff Shackelford is a Marietta, Ohio resident.

       7.        Defendant Direct Energy is a Texas company headquartered in Houston, Texas.

Defendant conducts business throughout this District, the State of Texas, and throughout the

United States.

                                   JURISDICTION AND VENUE

       8.        This Court has federal question subject matter jurisdiction over this action under

28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.

§227 (“TCPA”).




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       9.      This Court has personal jurisdiction over Defendant and venue is proper in this

District under 28 U.S.C. § 1391(b) because Defendant is headquartered in this District and

because the wrongful conduct giving rise to this case occurred in this District.

                                  COMMON ALLEGATIONS

Direct Energy Markets its Services by Making Autodialed Calls to Consumers’ Cellular
Phone Numbers Without Consent and Regardless of Whether They Are Registered on the
National Do Not Call Registry

       10.     As explained by the Federal Communications Commission (“FCC”) in its 2012

order, the TCPA requires “prior express written consent for all autodialed or prerecorded

[solicitation] calls to wireless numbers and residential lines.” In the Matter of Rules and

Regulations Implementing the Telephone Consumer Protection Act of 1991, CG No. 02-278,

FCC 12-21, 27 FCC Rcd. 1830 ¶ 2 (Feb. 15, 2012).

       11.     Yet in violation of this rule, Defendant fails to obtain any express written consent

prior to making autodialed solicitation calls to cellular telephone numbers such as Plaintiff’s.

       12.     In placing the calls that form the basis of this Complaint, Defendant utilized an

automatic telephone dialing system (“ATDS” or “autodialer”) in violation of the TCPA.

Specifically, the hardware and software used by Defendant has the capacity to store and/or

generate numbers to be called using a random or sequential number generator, and/or to receive

and store lists of telephone numbers and to dial such numbers, en masse, in an automated fashion

without human intervention. Defendant’s automated dialing equipment also is, or includes

features substantially similar to, a predictive dialer, meaning that it is capable of making

numerous phone calls simultaneously and automatically connecting answered calls to then

available callers and disconnecting the rest (all without human intervention).




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         13.    Not surprisingly, there are numerous online complaints about Defendant’s calls to

consumers who never gave consent to be called, including consumers that request that Defendant

stop calling, or who are otherwise registered on the National DNC registry:

    •    “They call 24/7 even when I’m at work I’m been asking them to stop but the dumbass
         hangs up on me and someone else calls right back”2
    •    “Call multiple times a day. Never anyone there.”3
    •    “calls 3-5 times a day, never a message or anyone [on] the line”4
    •    “no one there”5
    •    “I have gotten 18 calls on my cell phone from this number 8773417635 in the last 4 days
         I’m tired of it I blocked them and they still call my phone.”6
    •    “Number is in my block list still [get] several calls a day showing. I am on Do Not Call
         Registry, a lot of good that does”7
    •    “calling me asking me if i pay the bills when i dont have my own house”8
    •    “Direct Energy bugging me.”9
    •    “Calls several times a day.”10
    •    “Got a call from them at 1:50 AM!!!!! WTF???”11

         14.    Upon information and belief, Direct Energy owns/operates and/or utilizes the the

telephone number referenced in the complaints, 877-341-7635, which was the same number used

to call Plaintiff. In fact, when calling the phone number 877-341-7635, the automated message

identifies the company as being Direct Energy as well as the operators upon answering.




2
  https://800notes.com/Phone.aspx/1-877-341-7635/2
3
  https://www.shouldianswer.com/phone-number/8773417635
4
  id
5
  id
6
  https://www.everycaller.com/phone-number/1-877-341-7635/
7
  id
8
  https://findwhocallsyou.com/8773417635?CallerInfo
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  id
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   id
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   id
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                                 PLAINTIFF’S ALLEGATIONS

Direct Energy Repeatedly Called Plaintiff’s Cell Phone Number Without Plaintiff’s
Consent, Despite Plaintiff Registering Her Phone Number on the DNC

        15.    On November 2, 2017, Plaintiff registered her cellular telephone number on the

National Do Not Call Registry.

        16.    On June 15, 2018 at 3:03 PM, Plaintiff received an unsolicited, autodialed call

from Defendant to her cellular phone using phone number 877-341-7635. When Plaintiff

answered the call, there were 8 seconds worth of silence on the line before the line disconnected,

and no response to anything Plaintiff said, indicating the call was made using an automatic

dialing system.

        17.    Thereafter, from June 15 at 8:27 PM and July 9 at 3:20 PM, Defendant placed 52

more unsolicited, autodialed calls to Plaintiff’s cellular number, at the dates and times indicated

below, using phone number 877-341-7635 for every call:

   •    June 15, 2018 @ 8:27 PM
   •    June 16, 2018 @ 9:31 AM
   •    June 16, 2018 @ 10:04 AM
   •    June 16, 2018 @ 2:50 PM
   •    June 18, 2018 @ 9:26 AM
   •    June 18, 2018 @ 10:37 AM
   •    June 19, 2018 @ 11:01 AM
   •    June 19, 2018 @ 3:29 PM
   •    June 20, 2018 @ 11:03 AM
   •    June 20, 2018 @ 3:19 PM
   •    June 20, 2018 @ 7:11 PM
   •    June 21, 2018 @ 4:48 PM
   •    June 22, 2018 @ 9:51 AM
   •    June 22, 2018 @ 11:48 AM
   •    June 22, 2018 @ 3:55 PM
   •    June 23, 2018 @ 9:58 AM
   •    June 23, 2018 @ 3:55 PM
   •    June 25, 2018 @ 10:46 AM
   •    June 25, 2018 @ 1:40 PM
   •    June 25, 2018 @ 5:30 PM
   •    June 26, 2018 @ 12:13 PM
   •    June 26, 2018 @ 3:38 PM
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   •    June 26, 2018 @ 6:05 PM
   •    June 27, 2018 @ 9:58 AM
   •    June 27, 2018 @ 11:16 AM
   •    June 27, 2018 @ 6:02 PM
   •    June 27, 2018 @ 8:58 PM
   •    June 28, 2018 @ 9:58 AM
   •    June 28, 2018 @ 11:47 AM
   •    June 28, 2018 @ 2:07 PM
   •    June 28, 2018 @ 3:44 PM
   •    June 28, 2018 @ 6:49 PM
   •    June 29, 2018 @ 10:02 AM
   •    June 29, 2018 @ 11:20 AM
   •    June 29, 2018 @ 6:12 PM
   •    June 30, 2018 @ 9:58 AM
   •    June 30, 2018 @ 11:15 AM
   •    July 2, 2018 @ 12:47 PM
   •    July 2, 2018 @ 6:58 PM
   •    July 2, 2018 @ 8:34 PM
   •    July 3, 2018 @ 12:22 PM
   •    July 3, 2018 @ 2:03 PM
   •    July 3, 2018 @ 4:11 PM
   •    July 3, 2018 @ 6:47 PM
   •    July 3, 2018 @ 8:20 PM
   •    July 5, 2018 @ 12:10 PM
   •    July 5, 2018 @ 3:26 PM
   •    July 6, 2018 @ 10:17 AM
   •    July 6, 2018 @ 2:41 PM
   •    July 6, 2018 @ 6:15 PM
   •    July 7, 2018 @ 4:58 PM
   •    July 9, 2018 @ 3:20 PM

        18.    Plaintiff does not have a relationship with Direct Energy or any of its affiliated

companies, nor has she ever requested that Direct Energy call her or consented to any contact

from Defendant.

        19.    Simply put, Direct Energy did not obtain Plaintiff’s prior express written consent

to place a solicitation telephone call to her on her cellular telephone using an autodialer.

        20.    The unauthorized telephone calls made by Direct Energy, as alleged herein, have

harmed Plaintiff in the form of annoyance, nuisance, and invasion of privacy, and disturbed



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Shackelford’s use and enjoyment of her phone, in addition to the wear and tear on the phones’

hardware (including the phones’ battery) and the consumption of memory on the phone.

       21.     On information and belief, Defendant, or a third-party acting on its behalf, made

substantively identical unsolicited, autodialed calls en masse to the telephone numbers of

thousands of consumers. To the extent the calls were made on Defendant’s behalf to consumers,

Direct Energy provided the third-party access to its records, authorized use of its trade name,

otherwise controlled the content of the calls, and knew of, but failed to stop, the making of the

calls in violation of the TCPA.

       22.     Seeking redress for these injuries, Shackelford, on behalf of herself and Classes of

similarly situated individuals, brings suit under the Telephone Consumer Protection Act, 47

U.S.C. § 227, et seq., which prohibits unsolicited autodialed telephone calls to cellular

telephones and unsolicited calls to telephone numbers registered on the DNC.

                                    CLASS ALLEGATIONS

Class Treatment Is Appropriate for Plaintiff’s TCPA Claims Arising From Calls Made by
Direct Energy

       23.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2)

and Rule 23(b)(3) on behalf of herself and all others similarly situated and seeks certification of

the following two Classes:

       Autodialed No Consent Class: All persons in the United States who from four
       years prior to the filing of this action through the present (1) Defendant (or an agent
       acting on behalf of Defendant) called; (2) on the person’s cellular telephone; (3)
       using an autodialer; (4) for the purpose of selling Defendant’s products and
       services; and (5) for whom Defendant claims (a) it obtained prior express written
       consent in the same manner as Defendant claims it obtained prior express written
       consent to call Plaintiff, or (b) Defendant did not obtain prior express written
       consent.

       Do Not Call Registry Class: All persons in the United States who from four years
       prior to the filing of this action (1) Defendant (or an agent acting on behalf of
       Defendant) called more than one time on his/her cellular telephone; (2) within any
       12-month period; (3) where the cellular telephone number had been listed on the
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       National Do Not Call Registry for at least thirty days; (4) for the purpose of selling
       Defendant’s products and services; and (5) for whom Defendant claims (a) it
       obtained prior express written consent in the same manner as Defendant claims it
       supposedly obtained prior express written consent to call the Plaintiff, or (b)
       Defendant did not obtain prior express written consent.

       24.     The following individuals are excluded from the Classes: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, its

subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents

have a controlling interest and their current or former employees, officers and directors; (3)

Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Classes; (5) the legal representatives, successors or assigns of any such excluded

persons; and (6) persons whose claims against Defendant have been fully and finally adjudicated

and/or released. Plaintiff anticipates the need to amend the Class definitions following

appropriate discovery.

       25.     Numerosity: On information and belief, there are hundreds, if not thousands of

members of the Classes such that joinder of all members is impracticable.

       26.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the Classes, and those questions predominate over any

questions that may affect individual members of the Classes. Common questions for the Classes

include, but are not necessarily limited to the following:

               (a) whether Defendant utilized an automatic telephone dialing system to make its
                   calls to Plaintiff and the members of the Classes;

               (b) whether Defendant systematically made multiple telephone calls to Plaintiff
                   and consumers whose telephone numbers were registered with the National
                   Do Not Call Registry;

               (c) whether Defendant made telephone calls to Plaintiff and members of the
                   Classes without first obtaining prior express written consent to make the calls;

               (d) whether Defendant’s conduct constitutes a violation of the TCPA; and

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               (e) whether members of the Classes are entitled to treble damages based on the
                   willfulness of Defendant’s conduct.

       27.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Classes, and has retained counsel competent and experienced in class

actions. Plaintiff has no interests antagonistic to those of the Classes, and Defendant has no

defenses unique to Plaintiff. Plaintiff and her counsel are committed to vigorously prosecuting

this action on behalf of the members of the Classes, and have the financial resources to do so.

Neither Plaintiff nor her counsel has any interest adverse to the Classes.

       28.     Appropriateness: This class action is also appropriate for certification because

Defendant has acted or refused to act on grounds generally applicable to the Classes and as a

whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the members of the Classes and making final class-wide injunctive relief

appropriate. Defendant’s business practices apply to and affect the members of the Classes

uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with

respect to the Classes as wholes, not on facts or law applicable only to Plaintiff. Additionally, the

damages suffered by individual members of the Classes will likely be small relative to the

burden and expense of individual prosecution of the complex litigation necessitated by

Defendant’s actions. Thus, it would be virtually impossible for the members of the Classes to

obtain effective relief from Defendant’s misconduct on an individual basis. A class action

provides the benefits of single adjudication, economies of scale, and comprehensive supervision

by a single court. Economies of time, effort, and expense will be fostered and uniformity of

decisions will be ensured.




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                                   FIRST CAUSE OF ACTION
                               Telephone Consumer Protection Act
                                  (Violations of 47 U.S.C. § 227)
                   (On Behalf of Plaintiff and the Autodialed No Consent Class)

       29.     Plaintiff repeats and realleges paragraphs 1 through 28 of this Complaint and

incorporates them by reference herein.

       30.     Defendant and/or its agents made unwanted solicitation telephone calls to cellular

telephone numbers belonging to Plaintiff and the other members of the Autodialed No Consent

Class using an autodialer.

       31.     These solicitation telephone calls were made en masse without the consent of the

Plaintiff and the other members of the Autodialed No Consent Class to receive such solicitation

telephone calls.

       32.     Defendant did not have consent from the Plaintiff orally or in writing to call her.

       33.     Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a result of

Defendant’s conduct, Plaintiff and the other members of the Autodialed No Consent Class are

each entitled to, under 47 U.S.C. § 227(b)(3)(B), a minimum of $500.00 in damages for each

violation of such act.

       34.     In the event that the Court determines that Defendant’s conduct was wilful and

knowing, it may, under 47 U.S.C. § 227(b)(3)(C), treble the amount of statutory damages

recoverable by Plaintiff and the other members of the Autodialed No Consent Class.




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                                SECOND CAUSE OF ACTION
                              Telephone Consumer Protection Act
                                  (Violation of 47 U.S.C. § 227)
             (On Behalf of Plaintiff Shackelford and the Do Not Call Registry Class)

       35.      Plaintiff repeats and realleges the paragraphs 1 through 28 of this Complaint and

incorporates them by reference herein.

       36.      The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered his or her telephone number on the national do-not-call registry of persons

who do not wish to receive telephone solicitations that is maintained by the federal government.”

       37.      47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any

person or entity making telephone solicitations or telemarketing calls to wireless telephone

numbers.”12

       38.      47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate

any call for telemarketing purposes to a residential telephone subscriber unless such person or

entity has instituted procedures for maintaining a list of persons who request not to receive

telemarketing calls made by or on behalf of that person or entity.”

       39.      Any “person who has received more than one telephone call within any 12-month

period by or on behalf of the same entity in violation of the regulations prescribed under this

subsection may” bring a private action based on a violation of said regulations, which were

promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

solicitations to which they object. 47 U.S.C. § 227(c).




12
   Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003) Available at
https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-153A1.pdf
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       40.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call Registry

Class members who registered their respective telephone numbers on the National Do Not Call

Registry, a listing of persons who do not wish to receive telephone solicitations that is

maintained by the federal government.

       41.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call

Registry Class received more than one telephone call in a 12-month period made by or on behalf

of Defendant in violation of 47 C.F.R. § 64.1200, as described above. As a result of Defendant’s

conduct as alleged herein, Plaintiff and the Do Not Call Registry Class suffered actual damages

and, under section 47 U.S.C. § 227(c), are entitled, inter alia, to receive up to $500 in damages

for such violations of 47 C.F.R. § 64.1200.

       42.     To the extent Defendant’s misconduct is determined to be willful and knowing,

the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

recoverable by the members of the Do Not Call Registry Class.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

following relief:

   a) An order certifying the Classes as defined above; appointing Plaintiff as the

       representative of the Classes; and appointing her attorneys as Class Counsel;

   b) An award of actual and/or statutory damages to be paid into a common fund for the

       benefit of Plaintiff and the Classes;

   c) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

   d) A declaratory judgment that Defendant’s telephone calling equipment constitutes an

       automatic telephone dialing system under the TCPA;

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   e) An order requiring Defendant to disgorge any ill-gotten funds acquired as a result of their

      unlawful telephone calling practices;

   f) An injunction requiring Defendant to cease all unsolicited calling activity, and to

      otherwise protect the interests of the Classes; and

   g) Such further and other relief as the Court deems just and proper.

                                         JURY DEMAND

      Plaintiff requests a jury trial.

                                              Respectfully Submitted,

                                              KAYLA SHACKELFORD, individually and on
                                              behalf of those similarly situated individuals

Dated: August 7, 2018                         By: /s/ Jason Johnson

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                                              *Pro Hac Vice motion forthcoming
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